Case 2:04-cr-20244-.]PI\/|-tmp Document 95 Filed 07/12/05 Page 1 of 2 Page|D 102

 

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UNITED sTATEs oF AMERICA CU:R{U_3M now

Plaintiff,

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VS CR. NO. 04-20244-Ml

RONNIE HENRY

Defendant.

 

ORDER ON JURY VERDICT

 

This cause came on for trial on July 5, 2005, the United States Attorney
for this District, David Pritchard; representing the Government, and the
defendant, Ronnie Henry, appearing in person and with counsel, Randall Salky.

Jurors were selected and sworn. lAfter listening to opening statements, all
of the proof, closing arguments and jury charge, the jurors were excused to begin
deliberation.

After due deliberation, the jury returned in open court on July B, 2005,
and announced a verdict of GUILTY as to Count l of the Indictment.

Jurors were polled individually.

The SENTENCING HEARING is SET On FRIDAY, OCTOBER 7, 2005 at 8:45 A.M. in
Courtroom Number 4, 9th Floor, before Judge Jon Phipps McCalla.

Defendant was remanded to the custody of the United States Marshal.

ENTERED this the 23 day of July, 2005.

/QY.~QWO,QQ

JON PHIPPS MECALLA
TED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 95 in
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Randall P. Salky

LAW OFFICE OF RANDALL SALKY
P.O. Box 776407

Steamboat Springs7 CO 80477

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

